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                               EXHIBIT J
                                Footnote 17
  The Epoch Times: “Who Are These COVID-19 Vaccine Skeptics and What Do
                             They Believe?”
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A COVID-19 vaccine. (Patrick T. Fallon/AFP via Getty Images)

 PREMIUM     VIEWPOINTS
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Who Are These COVID-19 Vaccine Skeptics and
What Do They Believe?
              Patricia Adams                                             Lawrence Solomon


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Commentary

Vaccine skeptics, vaccine refusers, vaccine deniers—these anti-vaxxers are scourges whose ignorance and
misinformation are responsible for countless COVID-19 deaths, our public health authorities attest. Stamping their
message out is so important that those with the biggest megaphones are being outed, threatened, and fired from their
academic and medical posts, and wherever else they might be found.

So, who are these health heretics whose dangerous rhetoric is questioning prestigious public bodies such as the World
Health Organization and the Centers for Disease Control and Prevention, blue-chip pharma companies such as Pfizer
and Johnson & Johnson, and the great majority of governments?

Dr. Peter McCullough, the author of more than 1,000 publications with over 500 citations in the National Library of
Medicine, is one of the most outspoken critics of government COVID policies. He testified to the Texas Senate HHS
Committee that his treatment protocol, including hydroxychloroquine and ivermectin, led to an 85 percent reduction
in mortality. He also has been critical of mass COVID-19 vaccination, in part given safety concerns about the vaccines.
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“Today, we have 800 cases of young people developing myocarditis, or inflammation of the heart,” McCullough, a
cardiologist and internal medicine physician, said in a webinar in June. “I’m going to opine that because there is no
clinical benefit whatsoever in young people to get the vaccine that even one case is too many.”


McCullough’s past positions include membership on President Bill Clinton’s advisory panel to health care and chair of
more than 24 data safety monitoring boards for the National Institutes of Health and the Food and Drug
Administration. Following his criticisms of COVID policies, McCullough lost his positions (pdf) as vice chief of internal
medicine at Baylor University Medical Center and chief of cardiovascular research at the Baylor Heart and Vascular
Institute. He has been removed from his editorship of Cardiorenal Medicine, and he expects to be stripped of all eight
of his professional accreditations.

Dr. Byram W. Bridle, an award-winning associate professor of viral immunology at the University of Guelph’s
Department of Pathobiology, headed an advanced lab whose vaccine platform was funded by the Ontario government
to develop a COVID-19 vaccine.

An expert in vaccinology, he states (pdf), “There is a plethora of scientific literature demonstrating that naturally
acquired immunity against SARS-CoV-2 is likely superior to that conferred by vaccination only.”

He adds that “research from three independent groups has now demonstrated that those with naturally acquired
immunity experience more severe side-effects from COVID-19 vaccines than those who were immunologically naïve
prior to vaccination. In other words, for those with natural immunity, vaccination is not only unnecessary, but it
would put them at enhanced risk of harm. Knowing this, nobody should ever mandate COVID-19 vaccination.”

Bridle, who has natural immunity but is now banned from the university campus for not complying with the
university’s vaccine mandate (pdf), believes that his workplace became “a poisoned environment where the bullying,
harassment, and hatred against me have been incessant,” and states his life has been “destroyed.”
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Dr. Robert Malone, the inventor of mRNA vaccines while at the Salk Institute in 1988, is also an inventor of DNA
vaccines. He has some 100 peer-reviewed publications and published abstracts and 11,477 citations of his peer-
reviewed publications. Malone believes that for “high-risk populations, the risk/benefit ratio for the USA vaccines
seem to make sense,” but that it’s “demonstrably false” to claim that “these genetic vaccines are the only path available
to herd immunity” or are “perfectly safe.”

Malone, who is now allegedly subject to death threats, has become one of the most vilified scientists on earth, his
accomplishments denigrated in magazines such as The Atlantic and throughout the mainstream and social media.

Others who have been vilified in the mainstream and social media include Dr. Jay Bhattacharya, professor at Stanford
University Medical School, who stated that COVID-19 vaccination should be a matter of personal health and that
“there’s no public health reason for a mandate“; Dr. Sunetra Gupta, infectious disease epidemiologist and professor of
theoretical epidemiology at the University of Oxford, who stated that “it is really not logical to use vaccines to protect
other people. … The bottom line is that these vaccines do not prevent transmission”; and Dr. Martin Kulldorff,
professor of medicine at Harvard Medical School, who stated that “thinking that everyone must be vaccinated is as
scientifically flawed as thinking nobody should. COVID vaccines are important for older high-risk people, and their
care-takers. Those with prior natural infection do not need it. Nor children.”

Many more eminent COVID-19 vaccine skeptics have remained silent, for fear of being punished. In the United States,
the Federation of State Medical Boards warned that “physicians who generate and spread COVID-19 vaccine
misinformation or disinformation are risking disciplinary action by state medical boards, including the suspension or
revocation of their medical license,” a warning repeated in Canada by provincial licensing bodies such as the College of
Physicians and Surgeons of Ontario.

The ranks of the so-called vaccine skeptics include a Who’s Who of the world’s leading scientists. Few in the public
know of them because they’ve been silenced, censored, and sidelined. Public health authorities may brand them as
unscientific COVID kooks, but McCullough, Bridle, Malone, et al. haven’t been the ones acting as snake oil salesmen,
offering instant cures to anyone in the crowd willing to chance their medicine.
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The hard sell and sweeping claims have been coming from the public health officials, most of whom have far fewer
scientific accomplishments, and are far less knowledgeable, than the vaccine skeptics they cavalierly dismiss.

Views expressed in this article are the opinions of the author and do not necessarily reflect the views of The Epoch
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